

People v Wright (2022 NY Slip Op 05287)





People v Wright


2022 NY Slip Op 05287


Decided on September 27, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 27, 2022

Before: Webber, J.P., Kern, Singh, Moulton, Shulman, JJ. 


Ind. No. 2056/87 Appeal No. 16260 Case No. 2015-2747 

[*1]The People of the State of New York, Respondent,
vRonald E. Wright, Defendant-Appellant.


Justine M. Luongo, The Legal Aid Society, New York (Susan Epstein of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Jillian Lewis of counsel), for respondent.



Order, Supreme Court, New York County (Daniel P. Conviser, J.), entered on or about May 12, 2015, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously modified, on the law, to the extent of vacating the designation as a sexually violent offender, and otherwise affirmed, without costs.
The court, which granted a departure to level two notwithstanding defendant's point score of 135, properly exercised its discretion when it declined to grant a further downward departure (see People v Gillotti, 23 NY3d 841 [2014]). Defendant's enrollment in vocational training was adequately taken into account by the risk assessment instrument. Furthermore, defendant has not shown that this training, even if completed, would reduce his risk of reoffense or the potential for harm that might be caused by a reoffense (see e.g. People v Hernandez, 205 AD3d 485 [1st Dept 2022]). In any event, this alleged mitigating factor was outweighed by the seriousness of defendant's sexual offenses.
As the People concede, because this proceeding was a redetermination under Doe v Pataki (3 F Supp 2d 456 [1998]), the court should not have made a sexually violent offender designation (see People v Johnson, 130 AD3d 454, 455 [1st Dept 2015], lv denied 26 NY3d 908 [2015]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 27, 2022








